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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 UNITED STATES OF AMERICA,
                                                      Case No. 09-20215
        Plaintiff,
                                                      HONORABLE SEAN F. COX
 v.                                                   United States District Judge

 D-2 JOSE CASTRO-RAMIREZ,

       Defendant.
 _____________________________/

                     OPINION & ORDER RESOLVING OBJECTIONS
               TO DEFENDANT’S PRESENTENCE INVESTIGATION REPORT

        On March 11, 2010, a jury convicted Dr. Jose Castro-Ramirez (“Castro”) on one count of

 conspiracy to commit health care fraud, in violation of 18 U.S.C. § 1349, eleven counts of health

 care fraud, in violation of 18 U.S.C. § 1347, and one count of conspiracy to commit money

 laundering, in violation of 18 U.S.C. § 1956(h). [See Doc. No. 285]. The matter is before the

 Court for consideration of both parties’ objections to the calculation of Dr. Castro’s sentencing

 guidelines as calculated in the June 22, 2010 Revised Presentence Investigative Report (“PSR”).

 The parties have fully briefed the issues, and a hearing was held on August 18, 2010. For the

 reasons that follow, the Court ADOPTS the Government’s lone objection [Doc. No. 338],

 OVERRULES Dr. Castro’s objections [Doc. No. 347], and HOLDS that Dr. Castro’s

 sentencing guidelines in the PSR are properly calculated as between 168 and 210 months.

                                         BACKGROUND

        On June 24, 2009, the grand jury returned an indictment charging Dr. Castro with one

 count of conspiracy to commit health care fraud, in violation of 18 U.S.C. § 1349, eleven


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 individual counts of health care fraud, in violation of 18 U.S.C. § 1347, and one count of

 conspiracy to commit money laundering, in violation of 18 U.S.C. § 1956(h). [See June 24, 2009

 Indictment, Doc. No. 4].

        On February 18, 2010, and again on February 22, 2010, the jury heard testimony from one

 of Dr. Castro’s admitted co-conspirators, Mr. Shuresh Chand. Mr. Chand testified about the

 structure of the alleged health care fraud and money laundering conspiracies in which Dr. Castro

 participated, and also testified regarding the eleven individual health care fraud counts. The

 following is a summary of Mr. Chand’s testimony.

        Mr. Chand was a licensed physical and occupational therapist, and the owner of

 Continental Rehab Services, Inc. (“CRS”), a Michigan corporation that provided physical and

 occupational therapy to patients. Like other legitimate physical and occupational rehabilitation

 clinics, CRS would receive a patient referral from a doctor, provide physical or occupational

 therapy for the patient, and then bill Medicare or another health care provider for services

 rendered. Mr. Chand, thru CRS, had a legitimate business relationship with Dr. Castro for some

 time before the health care fraud conspiracy began, with Dr. Castro referring patients to CRS for

 physical or occupational therapy.

        Beginning in 2003, however, Mr. Chand testified that CRS stopped performing legitimate

 business operations due to decreasing profitability. Along with two other physical and

 occupational clinics - Managed Care Physical Therapy and Rehabilitation Services, P.C.

 (“MCPT”), owned by Mr. Muhammad Azeem (“Azeem”), and S.U.B. Rehabilitation & Physical

 Therapy Center, Inc. (“SUB”), owned by Mr. Shafiulla Hanif (“Hanif”) - Mr. Chand, Mr. Azeem,

 and Mr. Hanif conspired to defraud Medicare by creating fake patient treatment files and billing


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 Medicare for medically unnecessary and/or unprovided services.

        Mr. Chand testified that successfully defrauding Medicare required a three-tiered

 conspiracy: Medicare patients were needed to provide their Medicare numbers and to sign

 documents, a doctor needed to sign documentation referring the patients to physical therapy

 clinics and to attest to the medical necessity of such treatment, and the clinics needed to sign

 documentation claiming that physical or occupational therapy was performed, and then bill

 Medicare for those services. Mr. Chand alleges that CRS, MCPT, and SUB were the clinics

 involved in the conspiracy. Mr. Chand, Mr. Azim or Mr. Hanif would recruit Medicare

 beneficiaries to be involved in the scheme. Dr. Castro was the doctor providing the referrals.

        Mr. Chand testified that a typical transaction would work as follows. Mr. Chand would

 recruit a Medicare beneficiary to participate in the conspiracy. The patient would then come to

 Mr. Chand’s offices at CRS, where Mr. Chand would have a host of forms ready for the patient

 to sign - sign-in sheets attesting to days of physical or occupational therapy performed, initial

 doctor’s visit forms, and Medicare reimbursement forms attesting that services were actually

 rendered for the patient, to name but a few. In exchange, the patient would receive a nominal

 amount of money, and would provide Mr. Chand with a list of prescription drugs - Vicodin,

 Xanax, and Soma, for example - with resale value on the street that the patient wanted. Mr.

 Chand would then fax these lists of requested prescription drugs to Dr. Castro-Ramirez. Often

 without ever having met the patients, Dr. Castro would then write the requested prescriptions,

 and return the scripts to Mr. Chand, who would then give them to the patients.

        With these forms signed by the patient, Mr. Chand’s associates at CRS could then

 reverse-engineer entire files for that patient - both medical files for Dr. Castro as well as physical


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 and/or occupational therapy files for the clinics. Mr. Chand testified that his office computers at

 CRS had six medical history “templates” that CRS employees could use to fill out detailed

 therapy evaluations for the patients to make it appear that actual therapy services had been

 provided.

         Completed physical and/or occupational therapy files still needed signatures from

 licensed therapy providers before they could be submitted to Medicare for reimbursement. Mr.

 Chand would have licensed therapy providers sit in a room and sign the necessary forms - such as

 the evaluation forms with the template-created patient histories, for example - in each therapy

 file. These therapists would often sign between fifty and a hundred such therapy files in a sitting,

 and Mr. Chand would pay the therapists between one hundred and one hundred and twenty

 dollars per file.

         At that point, all Mr. Chand needed to complete the fraudulent files were signatures by a

 doctor on an initial evaluation, which referred the patient to one of the therapy centers, as well as

 Medicare forms 700 and 701 - required for Medicare reimbursement. Rather than bringing along

 the entire file for a patient, Mr. Chand would simply bring these three forms - the evaluation, 700

 and 701 forms - to Dr. Castro’s home, where Dr. Castro would sign forms in his garage for

 between thirty and fifty patients in a sitting - all, of course, without having first evaluated the

 patients and determining that physical and/or occupational therapy was medically necessary for

 the patients.

         Mr. Chand specifically testified regarding eleven separate Medicare reimbursement files

 that his office produced as part of the alleged health care fraud scheme. These files - admitted as

 Government’s Exhibits 34(j) through 34(t), each contain evaluations and Medicare 700 and 701


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 forms signed by Dr. Castro.1 For each of these files, despite signing the evaluation, 700 and 701

 forms within those files, Mr. Chand testified that Dr. Castro did not evaluate any of those

 patients on the dates reflected in the files. As such, Mr. Chand testified that these files did not

 reflect legitimate claims for reimbursement of actually-rendered services.

         In exchange for his signatures on the evaluations and the Medicare 700 and 701 forms,

 Dr. Castro received two types of compensation. First, Mr. Chand provided Dr. Castro with

 “routing slips” bearing patient signatures, which Dr. Castro could then use to bill Medicare for

 home health care visits with those patients, despite such visits not actually having been

 performed. Second, Mr. Chand testified that he made monetary payments to Dr. Castro,

 amounting to more than $200,000.00 between 2004 to 2007. Mr. Chand paid this money to Dr.

 Castro through personal checks drawn on Mr. Chand’s own bank accounts. Mr. Chand alleged

 that Dr. Castro was aware that these funds were the result of the health care fraud scheme, as Dr.

 Castro knew that Mr. Chand did not have any legitimate income source.

         On March 11, 2010, a jury convicted Dr. Castro on one count of conspiracy to commit

 health care fraud, in violation of 18 U.S.C. § 1349, eleven counts of health care fraud, in

 violation of 18 U.S.C. § 1347, and one count of conspiracy to commit money laundering, in

 violation of 18 U.S.C. § 1956(h). [See Doc. No. 285]. Dr. Castro’s sentencing is currently

 pending before the Court.



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             Specifically, Exhibit 34(j) relates to services allegedly provided to Ira Dickerson; Exhibits
 34(k), (l), (m), and (n) relate to services allegedly provided to Cora Bynum; Exhibit 34(o) relates to
 services allegedly provided to James Cherry; Exhibit 34(p) relates to services allegedly provided to Betty
 Coleman; Exhibits 34(q) and (r) relate to services allegedly provided to Alice Gartrell; Exhibit 34(s)
 relates to services allegedly provided to Lewis Scott; and Exhibit 34(t) relates to services allegedly
 provided to Harrison Taylor.

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                                               ANALYSIS

         For the reasons that follow, the Court ADOPTS the Government’s lone objection [Doc.

 No. 338], OVERRULES Dr. Castro’s objections [Doc. No. 347], and HOLDS that Dr. Castro’s

 sentencing guidelines in the PSR are properly calculated as between 168 and 210 months

         I. Dr. Castro’s Objections to his Sentencing Guideline Calculations [Doc. No. 347].

         Dr. Castro raises seven individual objections to the calculation of his sentencing

 guidelines2 [Doc. No. 347]. The Court finds that none of these arguments ultimately have merit,

 and therefore OVERRULES Dr. Castro’s objections to his sentencing guideline calculations

 [Doc. No. 347].

                 A. Paragraphs 8-16 and Dr. Castro’s Offense Conduct.

         Dr. Castro objects to ¶8's statement that he “wilfully conspired with others to commit

 health care fraud, in violation of 18 U.S.C. § 1349.” “Dr. Castro maintains that he did not

 ‘wilfully’ conspire with others to commit health care fraud or to launder proceeds of that fraud.”

 [Def.’s Br., Doc. No. 347, p.7]. Dr. Castro also further argues that co-defendant Shafiulla Hanif

 admitted to forging Dr. Castro’s name on certain documents, that Dr. Castro did not write

 “thousands” of prescriptions for a variety of “powerful” drugs, and further disputes the

 Government’s statements that the “vast majority” of patients were not actually seen by Dr.

 Castro. Id. at p.8. Dr. Castro also denies knowing that checks he received from co-defendant

 Shuresh Chand were derived from the proceeds of the scheme, and objects to the contention in



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          Dr. Castro also argues that the Presentence Investigation Report also miscalculates his net
 worth as a positive number, rather than as a negative number. The Court agrees that this appears to be a
 typographical error in the Presentence Investigation Report, though this objection has no bearing on the
 guidelines calculation.

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 ¶16 of the Presentence Report that Dr. Castro profited “substantially” from this scheme. Id.

        Notwithstanding Dr. Castro’s continued profession of innocence, the jury found Dr.

 Castro guilty of this conduct, and Dr. Castro’s arguments to the contrary now are without merit.

                B. Dr. Castro’s Objection to ¶18 and ¶23's Loss Calculations.

        Without further explanation, Dr. Castro “objects to and contests the amounts stated as

 attributable to him” [Doc. No. 347, p.9] in ¶18 of the PSR, which calculated that Medicare

 suffered a loss of $9,491,688.75, and that Blue Cross and Blue Shield of Michigan suffered a loss

 of $422,218.00 as a result of the health care fraud conspiracy. As the jury heard evidence

 substantiating these amounts during the trial, and as the jury convicted Dr. Castro of the conduct

 underlying these losses, Dr. Castro’s arguments to the contrary are without merit.

        Dr. Castro further argues, pursuant to ¶23 of the PSR as follows:

        . . . Dr. Castro submits that any “loss” attributable to him cannot be reasonably
        determined without gross speculation. He accordingly asks that any enhancement
        pursuant to U.S.S.G. § 2B1.1(b)(1) be based on any gain the Government can
        show that he actually received, as provided by Application Note 3(B). Further,
        since there can be no dispute that Dr. Castro did provide services, the loss should
        be reduced by the value of those services. See, U.S.S.G. § 2B1.1 n.3(E)(i).

 [Doc. No. 347, p.9].

        Application Note 3 to § 2B1.1 states, however, that “the court shall use the gain that

 resulted from the offense as an alternative measure of loss only if there is a loss but it reasonably

 cannot be determined.” USSG § 2B1.1, comment. (n. 3) (emphasis added). Here, as discussed

 above, the loss attributable to the conspiracy participated in by Dr. Castro is reasonably able to

 be determined. Application Note 3(B) is therefore not applicable to Dr. Castro in this case.

        Further, Dr. Castro’s reliance upon Application Note 3(E)(i) is similarly misplaced. That



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 provision provides that loss “shall be reduced by the following:”

        The money returned, and the fair market value of property returned and the
        services rendered, by the defendant or other persons acting jointly with the
        defendant, to the victim before the offense was detected.

 USSG § 2B1.1, comment. (n. 3(E)(i)) (emphasis added). In this case, however, Dr. Castro

 provided no services to either Medicare or to Blue Cross Blue Shield of Michigan. Dr. Castro’s

 arguments to the contrary are without merit.

                C. Dr. Castro’s Objection to ¶24's “Sophisticated Means” Guideline.

        Dr. Castro objects to ¶24 of the PSR’s conclusion that he used “sophisticated means”

 with respect to the offense as provided by § 2B1.1(b)(9)(C). [See Doc. No. 347, p.9]. Relying on

 several examples given in the Application Notes for that guideline, Dr. Castro generally argues

 that the “sophisticated means” enhancement should not apply to him. Id.

        The Comments to § 2B1.1 shed further light on the meaning behind the “sophisticated

 means” enhancement:

        For purposes of subsection (b)(9)(C), “sophisticated means” means especially
        complex or especially intricate offense conduct, pertaining to the execution or
        concealment of an offense. For example, in a telemarketing scheme, locating the
        main office of the scheme in one jurisdiction but locating soliciting operations in
        another ordinarily indicates sophisticated means. Conduct such as hiding assets or
        transactions, or both, through the use of fictitious entities, corporate shells, or
        offshore financial accounts also ordinarily indicates sophisticated means.

 USSG § 2B1.1, comment. (n. 8). Further, “[r]epetitive and coordinated conduct, though no one

 step is particularly complicated, can be a sophisticated scheme” for purposes of § 2B1.1. United

 States v. Finck, 407 F.3d 908, 915 (8th Cir. 2005), citing United States v. Jackson, 346 F.3d 22,

 25 (2d Cir. 2003).

        In this case, the jury found Dr. Castro guilty of conspiracy to commit health care fraud,


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 after hearing evidence that, over multiple years, Dr. Castro prescribed drugs for patients he had

 not examined, and ordered physical and occupational therapy for patients which was not

 medically necessary. Further, the application of the “sophisticated means” guideline

 enhancement in a health care fraud conspiracy of similar sophistication was upheld by the

 Eleventh Circuit in United States v. Carrazana, 2010 WL 292994 (11th Cir. Jan. 27, 2010). On

 these facts, the Court holds that the “sophisticated means” enhancement of § 2B1.1(b)(9)(C)

 applies to Dr. Castro in this matter.

                D. Dr. Castro’s Objection to ¶25's “Conscious Risk of Death or Serious Bodily
                       Harm Guideline.

        Dr. Castro objects to ¶25 of the PSR’s conclusion that his offense involved a conscious or

 reckless risk of death or serious bodily harm pursuant to USSG § 2B1.1(b)(13)(A). Dr. Castro’s

 argument is as follows:

        There is no allegation that anyone died or was seriously harmed as a result of
        Chand’s scheme. Now has there been any substantive proofs offered to support
        the proposition that anyone was “at risk.”

 [Doc. No. 347, p.9]. As the Eleventh Circuit held in United States v. Snyder, 291 F.3d 1291,

 1294-95 (11 Cir. 2002), “[t]he Guidelines, however, do not require that the victim actually suffer

 serious bodily injury. Rather, the question is whether the defendant placed the victim at such a

 risk.” In another health care fraud conspiracy case, United States v. Achille, 2008 WL 2003182,

 *2 (11th Cir. May 12, 2008), the Eleventh Circuit specifically noted that the dispensing of

 medically unnecessary prescription medications to third parties created just such a risk of serious

 bodily harm under § 2B1.1(b)(13)(A). Dr. Castro’s arguments to the contrary are without merit.




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                E. Dr. Castro’s Objection to ¶27's “Manager or Supervisor” Guideline.

        Dr. Castro objects to ¶27 of the PSR’s conclusion that he was a “manager or supervisor”

 of the health care fraud conspiracy pursuant to USSG § 3B1.1. [Doc. No. 347, p.9]. That

 provision states as follows, in pertinent part:

        If the defendant was a manager or supervisor (but not an organizer or leader) and
        the criminal activity involved five or more participants or was otherwise
        extensive, increase by 3 levels.

 USSG § 3B1.1(b). Subsection (a), which pertains to the “organizers and leaders” specifically

 omitted from subsection (b), provides for a four-level increase in offense level. USSG §

 3B1.1(a).

        In support of his arguments, Dr. Castro states that “there can be no dispute that Mr.

 Chand (and several of the fugitive defendants) were the ones who profited.” [Doc. No. 347, p.9].

 While certainly true that others in the health care fraud conspiracy profited from their endeavors,

 the jury also heard testimony that Dr. Castro profited significantly from his involvement as well.

 See USSG § 3B1.1, background. On these facts, the Court will apply the “manager or

 supervisor” guideline in USSG § 3B1.1(b), and Dr. Castro’s arguments to the contrary are

 without merit. As § 3B1.1(b)’s guideline enhancement applies, Dr. Castro’s argument for a

 reduction based on his minor participation under § 3B1.2 is likewise without merit.

                F. Dr. Castro’s Objection to ¶28's “Abuse of a Position of Trust” Guideline.

        Dr. Castro objects to ¶28 of the PSR’s conclusion that he abused a position of trust

 pursuant to USSG § 3B1.3. His argument is as follows:

        In order for § 3B1.3 to apply, the position of trust or special skill must have
        “significantly facilitated” the commission or concealment of the offense. In this
        case, Mr. Chand would have continued his scheme with or without Dr. Castro.


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 [Doc. No. 347, p.10]. The Court disagrees.

        The jury heard testimony from co-defendant Shuresh Chand that Dr. Castro played an

 integral role in the health care fraud conspiracy - “significantly facilitated” through Dr. Castro’s

 signing countless forms used to reverse-engineer fraudulent patient therapy files, through Dr.

 Castro’s referring of fictitious patients to Mr. Chand for physical or occupational therapy that

 was not medically necessary, and through Dr. Castro compensating those fictitious patients, in

 part, through his writing prescriptions for powerful controlled substances in the patient’s names.

 Regardless of whether co-defendant Shuresh Chand may have tried to continue the scheme

 without Dr. Castro’s assistance, Dr. Castro played an integral role in the health care fraud

 conspiracy which “significantly facilitated” its commission. USSG § 3B1.3's enhancement for

 an “abuse of a position of trust,” is therefore warranted in this case, and Dr. Castro’s arguments

 to the contrary are without merit.

                G. Dr. Castro’s Objection to ¶31's Money Laundering Conspiracy Offense
                       Guidelines.

        Dr. Castro objects to ¶31 of the PSR’s calculation of the offense level associated with his

 money laundering conspiracy conviction. His argument is as follows:

        To the extent that the Base Offense Level is determined by the offense level for
        the underlying offense, Dr. Castro preserves his objections with respect to the
        Specific Offense Characteristic and Role in the Offense adjustments calculated as
        to Counts 1 through 12, being: the loss amount; sophisticated means; conscious or
        reckless risk of death or serious bodily harm; and, the adjustment based on the
        proposition that he was a “manager or supervisor” of the scheme.

 [Doc. No. 347, p.10]. Thus, Dr. Castro’s arguments regarding his money laundering conspiracy

 offense guidelines are contingent upon the success of his arguments discussed supra. As the



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 Court rejects his other arguments discussed supra, Dr. Castro’s arguments regarding his money

 laundering offense are similarly without merit.

        II. The Government’s Objection to Dr. Castro’s Sentencing Guideline Calculations [Doc.
               No. 338.

        In its sentencing memorandum [Doc. No. 338], the Government argues that Dr. Castro is

 subject to the two-level sentencing enhancement for abusing a position of trust pursuant to §

 3B1.2 of the Sentencing Guidelines. [See Doc. No. 338, pp.12-14]. While the Probation

 Department’s original PSR did not include this two-level enhancement, the revised PSR - issued

 on June 22, 2010, one day after the Government’s sentencing memorandum was filed - did

 include this two-level enhancement.

        As discussed supra, the Court holds that Dr. Castro is properly subjected to the two-level

 enhancement for abusing a position of trust pursuant to § 3B1.2 of the Sentencing Guidelines.

 The Court therefore GRANTS the Government’s lone objection to the calculation of Dr.

 Castro’s sentencing guidelines [Doc. No. 338] to the extent that this objection still remains

 unresolved.

        III. Calculation of Dr. Castro’s Sentencing Guidelines in this Matter.

        In light of the sentencing guideline objections resolved supra, the Court HOLDS that Dr.

 Castro’s total offense level for his pending sentencing is thirty-five (35), with a corresponding

 criminal history category of I for Dr. Castro. Dr. Castro’s sentencing guidelines for his pending

 sentencing hearing are therefore calculated at between 168 and 210 months, and Dr. Castro’s

 arguments to the contrary are without merit.




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                                         CONCLUSION

        For the reasons explained above, the Court ADOPTS the Government’s lone objection

 [Doc. No. 338], OVERRULES Dr. Castro’s objections [Doc. No. 347], and HOLDS that Dr.

 Castro’s sentencing guidelines in the PSR are properly calculated as between 168 and 210

 months.

        IT IS SO ORDERED.


                                      S/Sean F. Cox
                                      Sean F. Cox
                                      United States District Judge

 Dated: August 18, 2010

 I hereby certify that a copy of the foregoing document was served upon counsel of record on
 August 18, 2010, by electronic and/or ordinary mail.

                              S/Jennifer Hernandez
                              Case Manager




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